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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                WESTERN DIVISON


PATRICK PURSLEY,                               )
                                               )
      Plaintiff,                               )
v.                                             )
                                               )
THE CITY OF ROCKFORD, JAMES                    )
BARTON, JIM BOWMAN, HOWARD                     ) Case: 18 C 50040
FORRESTER, RON GALLARDO, JOHN                  )
GENENS, CHARLENE GETTY, JEFF                   ) District Judge Philip G. Reinhard
HOUDE, SAM POBJECKY, GARY                      )
REFFETT, MARK SCHMIDT, BRUCE                   ) Magistrate Judge Lisa A. Jensen
SCOTT, DOUG WILLIAMS,                          )
UNIDENTIFIED EMPLOYEES OF THE                  )
ROCKFORD POLICE DEPARTMENT,                    )
DANIEL GUNNELL, PETER                          )
STRIUPAITIS, JACK WELTY,                       )
UNIDENTIFIED EMPLOYEES OF THE                  )
ILLINOIS STATE POLICE CRIME LAB,               )
GREG HANSON, STEPHEN PIRAGES,                  )
DAVID EKEDAHL, and CHRISTINE                   )
BISHOP,                                        )
                                               )
      Defendants.                              )


                       Defendant Christine Bishop’s Motion to Dismiss

       Defendant Christine Bishop states as follows for her Motion to Dismiss:

       1.      Defendants’ City of Rockford, James Barton, Ron Gallardo, John Genens, Charlene

Getty, Jeff Houde, Sam Pobjecky, and Mark Schmidt have pending before this Court a Motion to

Dismiss. (dkt # 55). Defendant Greg Hanson subsequently joined that motion. (dkt # 75, 81).

       2.      Defendants Bruce Scott, Doug Williams and Steve Pirages subsequently were

served, and filed a similar Motion to Dismiss. (dkt # 84).




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         3.     Due to an apparent misnomer in the proof of service intended to prove service upon

defendant Christine Bishop (dkt # 48), the undersigned did not initially appear on her behalf or

move for her dismissal. However, since that time, the undersigned has conferred with plaintiff’s

counsel and agreed to waive any defect in service and appear on behalf of Christine Bishop, f/k/a

Christine McAnally.

         4.     Defendant Bishop should be dismissed for the same reasons articulated in the

pending Motion to Dismiss, the arguments from which are adopted as if fully set forth herein. (dkt

# 55).

         5.     The Amended Complaint (dkt # 49) states that Bishop was a Rockford police officer

that participated in the murder investigation. (dkt # 49 at ¶ 10). That is the sole allegation particular

to that defendant.

         6.     As stated in the pending motion to dismiss (dkt # 55), those kinds of paltry

allegations fail to meet the applicable pleading standard. To the extent plaintiff's Amended

Complaint makes conclusory allegations against "Defendant Officers" or "Defendants," without

distinction or differentiation, the claims against Christine Bishop are not pled with enough factual

particularity to make those claims plausible.

         WHEREFORE, Defendant Christine Bishop respectfully requests an order dismissing her

from the suit pursuant to Rule 12(b)(6).




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                                        Defendant Christine Bishop,
                                        By: WilliamsMcCarthy LLP


                                        BY: /s/ Joel M. Huotari
                                        Joel M. Huotari
                                        James P. Devine
                                        WilliamsMcCarthy LLP
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                                   CERTIFICATE OF SERVICE

          I, Joel M. Huotari, an attorney, certify that on June 5, 2019, I caused the foregoing

document to be filed via the Court’s CM/ECF system, which effected service on all counsel of

record.




                                                        BY:    /s/ Joel M. Huotari
                                                                  Joel M. Huotari




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